Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 1
                                    of 10




                 Exhibit 34 to
  The Governor’s Motion for Summary Judgment


          Rebuttal Expert Report of Jeffrey Zax




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                               September 11, 2023
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 2
                                    of 10




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-CV-1866-GPG-SKC

  BENJAMIN GATES,
  TRAVIS SWARTZ,
  KARL HONEGGER, and
  NATIONAL FOUNDATION FOR GUN RIGHTS, INC.
       Plaintiffs,
  v.
  JARED S. POLIS, in his official capacity as Governor of the State of Colorado,
       Defendant.

                              DECLARATION OF JEFFREY S. ZAX, Ph.D

          Pursuant to 28 U.S.C. § 1746, I Jeffrey S. Zax, Ph.D., declare under penalty of perjury

  that the following is true and correct.

          1.         On June 2, 2023, I submitted the attached rebuttal report to the expert report of

  Mr. Mark Passamaneck.

          2.         If called to testify in this action, I would testify to the matters set forth in this

  rebuttal report.

          I hereby declare that the above statement and the statements in my rebuttal report are true

  to the best of my knowledge and belief and that I understand it is made for use as evidence in

  court and is subject to penalty for perjury.



  Dated this 4th day of September, 2023.




                                                      ___________________________________
                                                            Jeffrey S. Zax, Ph.D.
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 3
                                    of 10




  I.     Introduction

  The "Expert Report" of Mark W. Passamaneck makes the representation that "(s)tandard
  capacity magazines ... are commonly possessed and used for lawful purposes". It implies that
  self-defense is among those purposes.

  These assertions are either unsupported or contradicted by available evidence. The "Expert
  Report" offers no support for the assertion that magazines of capacity greater than 15 rounds
  are "used for lawful purposes".

  The "Expert Report" cites "(a) 2021 survey conducted by Georgetown University Professor
  William English",1 which contradicts the assertion of common possession and common
  possession for the purpose of legitimate firearm-based self-defense. The evidence of this
  survey demonstates that no more than 15.3% of adult Americans have ever owned a magazine
  of capacity greater than 10 rounds. The proportion of adult Americans who have ever owned a
  magazine of capacity greater than 15 rounds is presumably smaller.

  Moreover, more than 90% of adult Americans have never owned a magazine of capacity
  greater than 10 rounds for the purpose of home defense. More than 90% of adult Americans
  have never owned a magazine of capacity greater than 10 rounds for the purpose of defense
  outside the home.

  Conversely, the proportions of adult Americans who have owned magazines of capacity
  greater than 10 rounds for either of these purposes are small. For example, they are
  comparable to the proportions of adult Americans who have failed to attain a high school
  degree. They are also comparable to the proportions of adult Americans who self-identify as
  Atheist or Agnostic.

  Neither of these groups are typically understood to be common, Therefore, the proportions of
  adult Americans that have owned magazines of capacity greater than 10 rounds for either
  home defense or for defense outside the home cannot be construed as common, either.

  Legitimate instances of firearm-based self-defense do not require magazines with capacity
  greater than 10 rounds. However, if every American adult who would desire such an accessory
  for the ostensible purpose of home defense or of defense outside the home were to possess
  one, that would require less than 10% of the existing stock of magazines with that capacity.
  Any requirements for legitimate firearm-based self-defense can be fully satisfied with
  magazines that are compliant with Colorado statute.


         1
          William English, "2021 National Firearms Survey: Updated analysis including types of
  firearms owned", working paper, 13 May 2022.

                                               -1-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 4
                                    of 10




  II.    Numbers of large-capacity magazines

  The "Expert Report" of Mark W. Passamaneck makes the following assertion: "Mag-Pul, the
  largest manufacturer of AR15 magazines ... estimates the total number of magazines of 15+
  rounds at 350 million." This Report does not identify a verifiable source for this assertion.

  The "Expert Report" next states that "there are certainly close to 100 million handgun
  magazines in the US that are over 15 rounds." This statement is based on three assertions.

  First, the Report estimates that 89 million semi-automatic handguns are owned by Americans.
  Second, the Report asserts that an unknown proportion of these semi-automatic handguns are
  Glock 17s. Third, the Report asserts that Glock 17s "are sold with 2 or 3 standard capacity 17
  round magazines".

  This Report does not identify a verifiable source for any of these assertions. Nevertheless, the
  Report concludes that there are "close to 100 million handgun magazines in the US that are
  over 15 rounds."

  The "Expert Report" then asserts " (t)hat leaves approximately 250 million rifle magazines over
  15 rounds." This is, apparently, the difference between the estimate of 350 million "magazines
  of 15+ rounds" and the estimate of 100 million handgun magazines in the US that are over 15
  rounds.

  However, the estimate of 350 million "magazines of 15+ rounds" includes magazines of 15
  rounds. Therefore, the estimate of the total number of magazines that have capacity greater
  than 15 rounds must be fewer. Consequently, the estimate of the total number of rifle
  magazines that have capacity in excess of 15 rounds must be less than 250 million.

  Finally, the "Expert Report" asserts that "From one third to one half of all US gun owners surely
  own a magazine that is over 15 rounds." This Report does not identify a verifiable source for
  this assertion.


  III.   Extent of LCM possession

  The "Expert Report" of Mark W. Passamaneck refers to "(a) 2021 survey conducted by
  Georgetown University Professor William English". This survey provides more comprehensive
  information regarding the number and ownership of magazines of capacity greater than 10
  than is contained in the "Expert Report".

  It provides some additional information regarding the number and ownership of magazines of
  capacity greater than 15, hereinafter "large capacity magazines" or "LCMs". It is more

                                                -2-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 5
                                    of 10




  informative with regard to LCMs than the "Expert Report", as well.

  English (22, 2022) reports that 48.0%, or slightly less than half, of adult Americans who have
  owned a gun have ever owned at least one "handgun or rifle magazine that holds more than 10
  rounds".2 This is inconsistent with the assertion in the "Expert Report" that as many as "one
  half of all US gun owners surely own a magazine that is over 15 rounds."

  English (2022) does not report the proportion of all adult American gun owners who own a
  magazine with capacity greater than 15 rounds. Therefore, the consistency of the claim in the
  "Expert Report" that "From one third to one half of all US gun owners surely own a magazine
  that is over 15 rounds" cannot be verified.3

  Additional statistics from English (2022) provide a more informative understanding of the
  frequency with which magazines with capacity greater than 10 or greater than 15 rounds have
  ever been owned by adult Americans. English (8, 2022) reports that 31.9% of adult Americans
  one at least one firearm.

  This implies that 15.3% of all adult Americans have ever owned a magazine with capacity
  greater than 10 rounds. English (2022) does not report the proportion of adult Americans who
  have ever owned a magazine with capacity greater than 15. However, it is almost surely less
  than 15.3%.

  English (23, 2022) reports that 62.4% of adult Americans who have ever owned a magazine
  with capacity greater than 10 rounds have done so for the purpose of "home defense". This
  implies that 9.6% of adult Americans have ever owned a magazine with capacity greater than
  10 rounds for the purpose of "home defense".




         2
           English implicitly defines "adults" as individuals "aged 18 or over (4, 2022). This implicit
  definition is consistent with later calculations in English (2022).
         3
           English's table 13 reports that, among handgun magazines with capacity greater than
  10 rounds, approximately 63.8% have capacity greater than 15 rounds. English's table 14
  reports that, among rifle magazines with capacity greater than 10 rounds, approximately
  75.0% have capacity greater than 15 rounds. English does not report the actual numbers of
  handgun and rifle magazines with capacity greater then 15 rounds. Therefore, it is not possible
  to calculate the proportion of all magazines with capacity greater than 15 rounds. Tables 13
  and 14 of English (2022) also purport to report the average numbers of handgun and rifle
  magazines that have capacity less than or equal to 10 rounds. The sourse of these estimates is
  unknown, because the survey question that elicits magazine size specifically references "a
  handgun or rifle magazine that holds more than 10 rounds".

                                                  -3-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 6
                                    of 10




  The proportion of adult Americans who have ever owned a magazine with capacity greater
  than 15 rounds for the purpose of "home defense" is almost surely less than 9.6%. Regardless,
  more than 90% of adult Americans have never owned a magazine with capacity greater than
  15 rounds for the purpose of "home defense".

  English (23, 2022) reports that 41.7% of adult Americans who have ever owned a magazine
  with capacity greater than 10 rounds have done so for the purpose of "defense outside the
  home". This implies that 6.5% of adult Americans have ever owned a magazine with capacity
  greater than 10 rounds for the purpose of "defense outside the home".

  The proportion of adult Americans who have ever owned a magazine with capacity greater
  than 15 rounds for the purpose of "defense outside the home" is almost surely less than 6.5%.
  More than 93% of adult Americans have never owned a magazine with capacity greater than 15
  rounds for the purpose of "defense outside the home".

  Other comparisons provide additional perspectives on the frequency with which American
  adults own magazines for defensive purposes. For example, 9.6% of American adults have not
  graduated from high school.4

  High school dropouts are approximately as common as are adults who have ever owned
  magazines with a capacity of greater than 10 rounds for home defense. High school dropouts
  are more common than are adults who hvae ever owned magazines with a capacity of greater
  than 10 rounds for defense outside the home.

  High school dropouts are probably more common than are adults who have ever owned LCMs
  for home defense. High school dropouts are even more likely to be more common than are
  adults who have ever owned LCMs for home defense.

  Another 9.6% of American adults have Master's degrees. A total of 12.8% of American adults
  have Master's, professional or Ph.D. degrees.

  Consequently, advanced degrees are at least 31% more common than are adults who have
  ever owned magazines with a capacity of greater than 10 rounds for home defense. Advanced
  degrees are nearly twice as common as are adults who have ever owned magazines with a
  capacity of greater than 10 rounds for defense outside the home. Advanced degress are


         4
           These and subsequent calculations regarding educational attainment adopt the same
  definition. Data regarding educational attainment in the United States is from the spreadsheet
  entitled "All Races", at
  https://www.census.gov/data/tables/2021/demo/educational-attainment/cps-detailed-tables.h
  tml.

                                               -4-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 7
                                    of 10




  probably even more common, relative to adults who haev ever owned LCMs for home defense
  or for defense outside the home.

  Approximately 15.8% of American adults identify their religious beliefs as "nothing in
  particular".5 American adults who have no particular religious beliefs are nearly two-thirds
  more common than are adults who have ever owned magazines with a capacity of greater than
  10 rounds for home defense. American adults who have no particular religious beliefs are
  nearly twice as common as are adults who have ever owned magazines with a capacity of
  greater than 10 rounds for defense outside the home.

  Consequently, American adults who have no particular religious beliefs are probably more than
  two-thirds more common than are American adults who have ever owned LCMs for home
  defense. American adults who have no particular religious beliefs are probably more than twice
  as common as are American adults who have ever owned LCMs for home defense.

  Approximately 3.1% of American adults identify their religious beliefs as "Atheist". Another
  4.0% identify their religious beliefs as "Agnostic". Together, these communities of faith
  constitute 7.1% of American adults.

  Agnostics and Atheists are slightly less common than are adults who have ever owned
  magazines of capacity greater than 10 rounds for the purpose of home defense. However, they
  are approximately as common as are adults who have ever owned magazines of capacity
  greater than 10 rounds for the purpose of defense outside the home.

  Moreover, Agnostics and Atheists are probably at least as common as are adults who have ever
  owned LCMs for the purpose of home defense. They are probably more common than are
  adults who have ever owned LCMs for the purpose of defense outside the home.

  Sexual identities other than "straight or heterosexual", including gay, lesbian and bisexual
  identities, are approximately as common as the religious identities of Agnostic and Atheist.
  Among American adults, 7.2% claim these identifies.6




         5
           These and subsequent estimates of the frequency of religious beliefs are from the Pew
  Research Center, "Religious Landscape Study", at
  https://www.pewresearch.org/religion/religious-landscape-study/. They identify "adults" as
  those aged 18 and above.
         6
           These estimates of sexual identity are from Gallup, "What percentage of Americans
  are LGBT?" available at
  https://news.gallup.com/poll/332522/percentage-americans-lgbt.aspx.

                                                -5-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 8
                                    of 10




  Consequently, they too are probably as numerous as those who have ever owned LCMs for the
  purpose of home defense. They are probably more numerous than those who have ever owned
  LCMs for the purpose of defense outside the home.

  Approximately 22.8% of American adults suffer from any mental illness.7 American adults who
  have any mental illness are more than twice as common as are adults who have ever owned
  magazines with a capacity of greater than 10 rounds for home defense. American adults who
  have any mental illness are three times as common as are adults who have ever owned
  magazines with a capacity of greater than 10 rounds for defense outside the home.
  Consequently, American adults who have any mental illness are probably much more common
  than are American adults who have ever owned LCMs for home defense or for defense outside
  the home.

  Approximately 5.5% of American adults suffer from serious mental illness. American adults
  who have ever owned magazines with a capacity of greater than 10 rounds for home defense
  are less than twice as common as are adults who have serious mental illness. American adults
  who have ever owned magazines with a capacity of greater than 10 rounds for defense outside
  the home are only 29% more common than are adults who have serious mental illness.
  Consequently, American adults who have serious mental illness are probably nearly as
  common as are American adults who have ever owned LCMs for home defense or for defense
  outside the home.


  IV.    LCMs and self-defense

  The "Expert Report" of Mark W. Passamaneck describes the Glock 17 handgun as being "sold
  with 2 or 3 standard capacity 17 round magazines. The "Expert Report" also identifies the Glock
  17 handgun as a preferred firearm "for use as a home, or self-defense firearm". Neither
  assertion is accompanied by supporting references.

  Moreover, there is no demonstrated need for firearms with magazines with capacity greater
  than 15 rounds for the purpose of legitimate self-defense. As documented in the "Declaration
  of Jeffrey S. Zax, Ph.D.", legitimate firearm-based self-defense never, or almost never, requires
  the discharge of more than 10 rounds.

  Consequently, magazines with the capacity that the "Expert Report" attributes to the Glock 17


         7
           These and subsequent estimates of the frequency of mental illness are from the
  National Institute of Mental Health, "Mental Illness", at
  https://www.nimh.nih.gov/health/statistics/mental-illness. They identify "adults" as those aged
  18 and above.

                                                -6-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 9
                                    of 10




  are not relevant to legitimate firearm-based self-defense. This conclusion is consistent with the
  estimates in English (2022) regarding the purposes for which American adults own magazines
  with capacity greater than 10 rounds.

  English (8, 2022) estimates that the adult population in the United States in 2019 was 255.2
  million. His estimates of the proportion that owned firearms, the proportion of firearm-owners
  who ever owned magazines of capacity greater than 10, and the proportion of firearm-owners
  who ever owned magazines of capacity greater than 10 who did so for the purpose of home
  defense imply that approximately 24.4 million adults owned magazines of capacity greater
  than 10 for that purpose.

  Simlarly, English's estimates of the proportion that owned firearms, the proportion of
  firearm-owners who ever owned magazines of capacity greater than 10, and the proportion of
  firearm-owners who ever owned magazines of capacity greater than 10 who did so for the
  purpose of self defense outside the home imply that approximately 16.3 million adults owned
  magazines of capacity greater than 10 for that purpose.

  If those who ever owned magazines of capacity greater than 10 for the purpose of home self
  defense were entirely distinct from those who ever owned magazines of capacity greater than
  10 for the purpose of self defense outside the home, these calculations would imply that 40.7
  million adults ever owned magazines of capacity greater than 10 for some self-defensive
  purpose. This is the maximum number of adults, according to English's estimates, who could
  ever have owned magazines of capacity greater than 10 for some self defensive purpose.

  If, however, those who ever owned magazines of capacity greater than 10 for the purpose of
  home self defense included all of those who ever owned magazines of capacity greater than 10
  for the purpose of self defense outside the home, these calculations would imply that 24.4
  million adults ever owned magazines of capacity greater than 10 for some self-defensive
  purpose. This is the minimum number of adults, according to English's estimates. who could
  have ever owned magazines of capacity greater than 10 for some self defensive purpose.

  Legitimate firearm-based self-defense does not require the entire capacity of a single
  magazine with capacity greater than 10. Moreover, circumstances of legitimate firearm-based
  self-defense would rarely, if ever, permit the simultaneous use of multiple firearms equipped
  with magazines with capacity of greater than 10 rounds.

  Therefore, one magazine with capacity greater than 10 rounds would exceed any reasonable
  requirement for individual self defense. Consequently, the maximum number of magazines
  with capacity greater than 10 rounds that could be relevant for individual self defense would be
  between 24.4 million and 40.7 million.

  English (25, 2022) estimates that American adults "have owned some 542 million rifle and

                                                -7-
Case No. 1:22-cv-01866-GPG-SKC Document 74-12 filed 09/11/23 USDC Colorado pg 10
                                    of 10




  handgun magazines that hold over 10 rounds". This implies that, at most, legitimate
  firearm-based self-defense would require between 4.5% and 7.5% of the estimated stock of
  magazines with capacity greater than 10 rounds. More than 90% of the estimated stock is
  irrelevant to the requirements of legitimate firearm-based self-defense.

  The "Expert Report" asserts that magazines are functional for at least 500 rounds. There is no
  evidence that any individual's cumulative need for legitimate firearm-based self-defense would
  exceed that limit. Therefore, a single magazine should be sufficient for legitimate
  firearm-based self-defense over an indefinite period.


  V.     Conclusion

  LCM ownership is rare among American adults. As an example, mental illness occurs much
  more frequently among that population. LCM ownership cannot be construed as "common"
  unless mental illness is construed as "very common".

  Legitimate self-defense essentially never requires the capacity of an LCM. Consequently, LCMs
  are not necessary for legitimate firearm-based self-defense.

  Colorado law permits ownership of magazines with capacity of up to 15 rounds. Magazines of
  this capacity would have been sufficient for essentiall all reported acts of legitimate
  firearm-based self-defense. Moreover, although multiple magazines are unlikely to be useful
  for the purpose of legitimate firearm-based self-defense, ownership of multiple magazines
  with capacity of 15 rounds or less is also permitted under Colorado law.

  Therefore, Colorado law does not interfere with the possession of magazines that are more
  than sufficient for legitimate self-defense. The relatively few adults who desire to possess such
  magazines for that purpose do not suffer from any meaningful constraints.




                                                -8-
